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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                 FORT WORTH DIVISION


 John Kelley; Joel Starnes; Gregory
 Scheideman; Zach Maxwell; Ashley
 Maxwell; Donovan Riddle; Karla
 Riddle; Joel Miller; Kelley
 Orthodontics; and Braidwood
 Management Inc.,

                       Plaintiffs,

 v.                                             Case No. 4:20-cv-00283-O

 Alex M. Azar II, in his official capacity
 as Secretary of Health and Human
 Services; Steven T. Mnuchin, in his
 official capacity as Secretary of the
 Treasury; Eugene Scalia, in his official
 capacity as Secretary of Labor; United
 States of America,

                       Defendants.


                      FIRST AMENDED COMPLAINT
      The Affordable Care Act empowers the U.S. Preventive Services Task Force, the
Advisory Committee on Immunization Practices, and the Health Resources and Ser-
vices Administration to unilaterally determine the “preventive care” that private health
insurance must cover. See 42 U.S.C. § 300gg-13. Since the Affordable Care Act’s en-
actment, these agencies have issued numerous pronouncements that force health-
insurance issuers and self-insured plans to cover certain forms of “preventive care”
without any cost-sharing arrangements such as deductibles and co-pays. In 2011, for
example, the Health Resources and Services Administration issued a highly contro-
versial pronouncement that compels private insurance to cover all forms of FDA-
approved contraceptive methods, including contraceptive methods that operate as



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abortifacients. A few months ago, the U.S. Preventive Services Task Force issued an
equally controversial decree that requires private insurance to cover pre-exposure
prophylaxis (PrEP) drugs such as Truvada and Descovy starting in 2021.
    All of these agency-issued preventive-care mandates are unlawful, and some of
them violate the Religious Freedom Restoration Act as well. The Court should enjoin
the defendants from enforcing any of these agency-issued preventive-care mandates.

                        JURISDICTION AND VENUE
    1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).

                                     PARTIES
    3.   Plaintiff John Kelley resides in Tarrant County, Texas.
    4.   Plaintiff Joel Starnes resides in Tarrant County, Texas.
    5.   Plaintiff Gregory Scheideman resides in Tarrant County, Texas.
    6.   Plaintiff Zach Maxwell resides in Hood County, Texas.
    7.   Plaintiff Ashley Maxwell resides in Hood County, Texas.
    8.   Plaintiff Donovan Riddle resides in Hood County, Texas.
    9.   Plaintiff Karla Riddle resides in Hood County, Texas.
    10. Plaintiff Joel Miller resides in Parker County, Texas.
    11. Plaintiff Kelley Orthodontics (“Kelley Orthodontics”) is a professional as-
sociation located in Tarrant County, Texas.
    12. Plaintiff Braidwood Management Inc. (“Braidwood”) is a for-profit, closely
held corporation incorporated under the laws of Texas.




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      13. Defendant Alex M. Azar II is the U.S. Secretary of Health and Human Ser-
vices. His office is located at 200 Independence Avenue SW, Washington, D.C.
20201. Secretary Azar is sued in his official capacity.
      14. Defendant Steven T. Mnuchin is the U.S. Secretary of the Treasury. His
office is located at 1500 Pennsylvania Avenue NW, Washington, D.C. 20220. Secre-
tary Mnuchin is sued in his official capacity.
      15. Defendant Eugene Scalia is the U.S. Secretary of Labor. His office is located
at 200 Constitution Avenue NW, Washington, D.C. 20210. Secretary Scalia is sued
in his official capacity.
      16. Defendant United States of America is the federal government of the United
States of America.

 THE AFFORDABLE CARE ACT’S PREVENTIVE-CARE MANDATES
      17. The Affordable Care Act requires group health plans and health-insurance
issuers to cover “evidence-based items or services that have in effect a rating of ‘A’ or
‘B’ in the current recommendations of the United States Preventive Services Task
Force,” and to cover these items or services without any cost-sharing requirements
such as deductibles or co-pays. See 42 U.S.C. § 300gg-13(a)(1) (attached as Exhibit
1).
      18. A separate provision of the Affordable Care Act requires group health plans
and health-insurance issuers to cover “immunizations that have in effect a recommen-
dation from the Advisory Committee on Immunization Practices of the Centers for
Disease Control and Prevention with respect to the individual involved,” and to do
so without any cost-sharing requirements such as deductibles or co-pays. See 42 U.S.C.
§ 300gg-13(a)(2) (attached as Exhibit 1).




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    19. Another provision requires group health plans and health-insurance issuers
to cover “with respect to infants, children, and adolescents, evidence-informed pre-
ventive care and screenings provided for in the comprehensive guidelines supported
by the Health Resources and Services Administration,” and to cover this preventive
care and screenings without any cost-sharing requirements such as deductibles or co-
pays. See 42 U.S.C. § 300gg-13(a)(3) (attached as Exhibit 1).
    20. And yet another provision requires group health plans and health-insurance
issuers to cover “with respect to women, such additional preventive care and screen-
ings not described in [42 U.S.C. § 300gg-13(a)(1)] as provided for in comprehensive
guidelines supported by the Health Resources and Services Administration for pur-
poses of this paragraph.” These “preventive care and screenings” for women must be
provided without any cost-sharing requirements such as deductibles or co-pays. See
42 U.S.C. § 300gg-13(a)(4) (attached as Exhibit 1).

             THE HRSA’S CONTRACEPTIVE MANDATE
    21. On August 1, 2011 — more than one year after the Affordable Care Act was
signed into law — the Health Resources and Services Administration issued guidelines
requiring that all FDA-approved contraceptive methods be covered as “preventive
care” under 42 U.S.C. § 300gg-13(a)(4). These HRSA guidelines of August 1, 2011,
did not go through notice-and-comment rulemaking procedures.
    22. In response to the HRSA’s decree of August 1, 2011, the Secretary of
Health and Human Services, the Secretary of the Treasury, and the Secretary of Labor
issued notice-and-comment regulations to implement HRSA’s decision to require pri-
vate insurers to cover contraception. These rules are known as the “Contraceptive
Mandate,” and they are codified at 45 C.F.R. § 147.130(a)(1)(iv), 29 C.F.R.
§ 2590.715–2713(a)(1)(iv), and 26 C.F.R. § 54.9815–2713(a)(1)(iv) (attached as

Exhibits 2–4).




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    23. On May 4, 2017, President Trump issued an executive order instructing the
Secretary of the Treasury, the Secretary of Labor, and the Secretary of Health and
Human Services to amend the Contraceptive Mandate to address conscience-based
objections. See Executive Order 13798.
    24. In response to this order, the Department of the Treasury, the Department
of Labor, and the Department of Health and Human Services issued a final rule on
November 15, 2018, that exempts any non-profit or for-profit employer from the
Contraceptive Mandate if it opposes the coverage of contraception for sincere reli-
gious reasons. See Religious Exemptions and Accommodations for Coverage of Cer-
tain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,536 (No-
vember 15, 2018).
    25. The final rule also sought to accommodate individuals who object to con-
traceptive coverage in their health insurance for sincere religious reasons. See id. at
57,590 (creating a new provision in 45 C.F.R. § 147.132(b)). Under the original
Contraceptive Mandate, individual religious objectors were forced to choose between
purchasing health insurance that covers contraception or forgoing health insurance

entirely — unless they could obtain insurance through a grandfathered plan or a
church employer that was exempt from Contraceptive Mandate. The final rule en-

sured that individual religious objectors would have the option to purchase health
insurance that excludes contraception from any willing health insurance issuer.
    26. The final rule was scheduled to take effect on January 14, 2019. On January
14, 2019, however, a federal district court in Pennsylvania issued a nationwide pre-
liminary injunction against its enforcement. See Pennsylvania v. Trump, 351 F. Supp.
3d 791 (E.D. Pa. 2019). The Third Circuit affirmed this nationwide preliminary in-
junction on July 12, 2019. See Pennsylvania v. President of the United States, 940 F.3d
543 (3d Cir. 2019). The Supreme Court granted certiorari and vacated the nation-
wide injunction in Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania,


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No. 19-431 (July 8, 2020), but the litigation over the Trump Administration’s rule
continues, and the plaintiffs in Pennsylvania v. Trump have vowed to seek a new na-
tionwide injunction against the rule on remand.
       27. In response to the nationwide injunction issued in Pennsylvania v. Trump,
a lawsuit was filed in the Northern District of Texas to enjoin federal officials from
enforcing the Obama-era contraceptive mandate against the religious objectors pro-
tected by the Trump Administration’s final rule of November 15, 2018. The district
court held that the protections conferred in the Trump Administration’s final rule
were compelled by the Religious Freedom Restoration Act, and permanently enjoined
federal officials from enforcing the Contraceptive Mandate against any religious ob-
jector protected by the final rule. See DeOtte v. Azar, 393 F. Supp. 3d 490 (N.D. Tex.
2019); see also Exhibit 5 (final judgment in DeOtte). As a result of DeOtte, the pro-
tections conferred by the Trump Administration’s final rule are in full force and effect
because they have been incorporated into the DeOtte injunction, even though the
final rule itself remains subject to litigation.
       28. Despite the DeOtte injunction, few if any insurance companies are currently

offering health insurance that excludes coverage for contraception, and the continued
existence of the Contraceptive Mandate restricts the options available to those who

wish to purchase health insurance but who do not need or want contraceptive cover-
age.

 THE U.S. PREVENTIVE SERVICES TASK FORCE’S PrEP MANDATE
       29. On June 11, 2019 — more than nine years after the Affordable Care Act was
signed into law — the U.S. Preventive Services Task Force recommended that health
insurance cover preexposure prophylaxis (PrEP) drugs without any cost-sharing ar-
rangements such as co-payments or deductibles. The U.S. Preventive Services Task

Force gave PrEP an “A” rating, which requires private insurance to cover PrEP drugs




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without any cost-sharing arrangements under the terms of 42 U.S.C. § 300gg-
13(a)(1). See https://bit.ly/2NyeXJM (last visited on July 20, 2020) (attached as
Exhibit 6).
    30. The Task Force’s recommendation of June 11, 2019, did not go through
notice-and-comment procedures.
    31. The Task Force’s recommendation does not compel immediate coverage of
PrEP drugs, because 42 U.S.C. § 300gg-13(b) requires the Secretary to “establish a
minimum interval” between the date of a Task Force recommendation and the plan
year for the compulsory coverage must take effect. See 42 U.S.C. § 300gg-13(b)(1).
This “minimum interval” may not be less than one year. See 42 U.S.C. § 300gg-
13(b)(2). As a result, compulsory coverage of PrEP drugs will not take effect until
2021.

        ALLEGATIONS RELATED TO ARTICLE III STANDING
    32. Each of the plaintiffs is suffering injury in fact on account of these coverage
mandates.

        A.    Plaintiffs John Kelley, Joel Starnes, Zach Maxwell, and Ashley
              Maxwell
    33. Plaintiffs John Kelley, Joel Starnes, Zach Maxwell, and Ashley Maxwell are
responsible for providing health coverage for themselves and their respective families.
    34. The preventive-care coverage mandates, however, make it impossible for
these plaintiffs to purchase health insurance unless they agree to pay for preventive-
care coverage that they do not want and do not need.
    35. Mr. Kelley, Mr. Starnes, Mr. Maxwell, and Ms. Maxwell do not need or want
contraceptive coverage in their health insurance. They do not want or need free STD
testing covered by their health insurance because they are in monogamous relation-
ships with their respective spouses. And they do not want or need health insurance




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that covers Truvada or PrEP drugs because neither they nor any of their family mem-
bers are engaged in behavior that transmits HIV. The defendants’ enforcement of 42
U.S.C. § 300gg-13, however, makes it impossible for these plaintiffs to purchase less
expensive health insurance that excludes this unwanted coverage, thereby inflicting
injury in fact.
    36. Mr. Kelley, Mr. Starnes, Mr. Maxwell, and Ms. Maxwell also object to con-
traceptive coverage and the coverage of PrEP drugs on religious grounds. Each of
these plaintiffs is a Christian, and they are unwilling to purchase health insurance that
subsidizes abortifacient contraception or PrEP drugs that encourage and facilitate ho-
mosexual behavior.
    37. The federal Contraceptive Mandate continues to inflict injury in fact on
these plaintiffs and other religious objectors who wish to purchase health insurance.
Although the DeOtte injunction permits issuers of health insurance to issue group or
individual health-insurance coverage that excludes abortifacient contraception to re-
ligious objectors, few if any insurance companies are offering health insurance of this
sort. And even if a health insurer were willing to create and offer a policy that excludes

abortifacient contraceptive coverage solely for religious objectors, the Contraceptive
Mandate drastically restricts the available options on the market to consumers who

hold religious objections to abortifacients. The Mandate requires any policy that co-
vers anyone who lacks a sincere religious objection to contraception to cover all forms
of FDA-approved contraceptive methods, without any deductibles or co-pays. With-
out the federal Contraceptive Mandate, insurers will have the freedom to offer policies
that exclude contraceptive coverage to the general public, just as they did before the
Contraceptive Mandate, which will expand the health-insurance options available to
consumers who oppose abortifacient contraceptive coverage for sincere religious rea-
sons.




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    38. Each of these plaintiffs’ injuries is caused by the defendants’ enforcement of
42 U.S.C. § 300gg-13, and it will be redressed by declaratory and injunctive relief
that prevents the defendants from compelling private insurance to provide this un-
wanted coverage.

        B.    Plaintiffs Donovan Riddle and Karla Riddle
    39. Plaintiffs Donovan Riddle and Karla Riddle are responsible for providing
health coverage for themselves and their family.
    40. Neither Mr. nor Mrs. Riddle has religious or moral objections to any of the
FDA-approved contraceptive methods. But they do not want or need contraceptive
coverage in their health insurance because Mrs. Riddle had a hysterectomy after giving
birth to her daughter 18 years ago.
    41. The preventive-care coverage mandates, however, make it impossible for
Mr. and Mrs. Riddle to purchase health insurance unless they agree to pay for contra-
ceptive coverage and other preventive-care coverage that they do not want and do not
need.
    42. The Riddles are unprotected by the DeOtte injunction and the Trump Ad-
ministration’s rules that exempt religious and moral objectors from the Contraceptive
Mandate, because they do not hold religious or moral objections to any of the FDA-
approved contraceptive methods. Their objection to the Contraceptive Mandate is
based solely on the fact that they not need or want contraceptive coverage on account
of Mrs. Riddle’s hysterectomy.
    43. Mr. and Mrs. Riddle’s injuries are caused by the defendants’ enforcement of
42 U.S.C. § 300gg-13, and it will be redressed by declaratory and injunctive relief
that prevents the defendants from compelling private insurance to provide this un-
wanted coverage.




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        C.     Plaintiff Joel Miller
     44. Plaintiff Joel Miller is responsible for providing health coverage for himself
 and his family.
     45. Mr. Miller does not hold religious or moral objections to any of the FDA-
 approved contraceptive methods. But he does not want or need contraceptive cover-
 age in his health insurance because his wife is past her childbearing years.
     46. The preventive-care coverage mandates, however, make it impossible for
 Mr. Miller to purchase health insurance unless he agrees to pay for contraceptive cov-

 erage and other preventive-care coverage that he does not want or need.
     47. Mr. Miller is unprotected by the DeOtte injunction and the Trump Admin-
 istration’s rules that exempt religious and moral objectors from the Contraceptive
 Mandate, because Mr. Miller does not hold religious or moral objections to any of

 the FDA-approved contraceptive methods. Mr. Miller’s objection to the Contracep-
 tive Mandate is based solely on the fact that he does not need or want contraceptive
 coverage because his wife is past her childbearing years.
     48. Mr. Miller’s injuries are caused by the defendants’ enforcement of 42 U.S.C.
 § 300gg-13, and it will be redressed by declaratory and injunctive relief that prevents
 the defendants from compelling private insurance to provide this unwanted coverage.

        D.     Plaintiff Gregory Scheideman
     49. Plaintiff Gregory Scheideman is responsible for providing health coverage
 for himself and his family. He is also part owner of a business that employs approxi-
 mately 27 individuals, and he provides health insurance to each of his employees
 through his company.
     50. The preventive-care coverage mandates, however, make it impossible for Dr.
 Scheideman to purchase health insurance unless he agrees to pay for preventive-care
 coverage that he does not want or need.




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     51. The preventive-care coverage mandates also force Dr. Scheideman’s com-
 pany to pay higher premiums for health insurance that must cover preventive care free
 of charge as decreed by the U.S. Preventive Services Task Force, the Advisory Com-
 mittee on Immunization Practices, and the Health Resources and Services Admin-
 istration. This deprives Dr. Scheideman of the option of purchasing less expensive
 health insurance for his employees with less extensive coverage of preventive care.
     52. Dr. Scheideman’s injuries are caused by the defendants’ enforcement of 42
 U.S.C. § 300gg-13, and it will be redressed by declaratory and injunctive relief that
 prevents the defendants from compelling private insurance to provide this unwanted
 coverage.

        E.      Plaintiff Kelley Orthodontics
     53. Kelley Orthodontics is a Christian professional association owned by plain-
 tiff John Kelley.
     54. Kelley Orthodontics employs numerous individuals as employees.
     55. Kelley Orthodontics wishes to provide health insurance for its employees
 that excludes coverage of contraception, PrEP drugs, and other preventive care re-
 quired by the defendants’ current interpretation and enforcement of 42 U.S.C.
 § 300gg-13.
     56. The Contraceptive Mandate and the PrEP mandate, and the defendants’
 current interpretation and enforcement of 42 U.S.C. § 300gg-13, make it impossible
 for Kelley Orthodontics to purchase health insurance that excludes this unwanted
 coverage, thereby inflicting injury in fact.
     57. Kelley Orthodontics’s injury is caused by the defendants’ enforcement of 42
 U.S.C. § 300gg-13, and it will be redressed by declaratory and injunctive relief that
 prevents the defendants from compelling private insurance to provide this unwanted

 coverage.




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          F.    Plaintiff Braidwood Management Inc.
      58. Dr. Steven F. Hotze is the founder, owner, and CEO of the Hotze Health
 & Wellness Center. The Hotze Health & Wellness Center is the DBA (“doing busi-
 ness as”) name of Hotze Medical Association P.A., a Texas professional association.
      59. The people who work at the Hotze Health & Wellness Center are employed
 by a separate management company called Braidwood Management Inc. Braidwood
 Management Inc. is a Texas corporation, and it is owned by a trust of which Dr. Hotze
 is the sole trustee and beneficiary. Dr. Hotze is also the President, Secretary, Treasurer,

 and sole member of the Board of Braidwood Management Inc.
      60. Braidwood Management Inc. employs approximately 70 individuals, and its
 employees work at one of the following three business entities, each of which is owned
 or controlled by Dr. Hotze: the Hotze Health & Wellness Center, Hotze Vitamins,

 or Physicians Preference Pharmacy International LLC.
      61. Braidwood Management Inc. is self-insured and provides health insurance
 to its employees. Because Braidwood has more than 50 employees, it is compelled to
 offer ACA-compliant health insurance to its employees or face heavy financial penal-
 ties. See 26 U.S.C. § 4980H(c)(2).
      62. Dr. Hotze is a Christian, and he operates his business according to Christian
 principles and teaching.
      63. Dr. Hotze is therefore unwilling to allow Braidwood’s self-insured plan to
 cover PrEP drugs such as Truvada and Descovy because these drugs facilitate or en-
 courage homosexual behavior, which is contrary to Dr. Hotze’s sincere religious be-
 liefs.
      64. Dr. Hotze objects to the other preventive-care coverage mandates imposed
 by the defendants because Dr. Hotze wants the freedom to decide the extent to which
 Braidwood’s plan will cover preventive care, and whether it will charge copays or re-




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 quire preventive care to count toward an annual deductible. The preventive-care cov-
 erage mandates deprive Dr. Hotze and Braidwood of these choices and makes the
 provision of health care to Braidwood’s employees more costly and expensive.
     65. Braidwood Management Inc.’s injury is caused by the defendants’ enforce-
 ment of 42 U.S.C. § 300gg-13, and it will be redressed by declaratory and injunctive
 relief that prevents the defendants from compelling self-insured health plans to pro-
 vide this unwanted coverage.

   CLAIM NO. 1 — 42 U.S.C. § 300gg-13(a)(1)–(4) VIOLATE THE
                  APPOINTMENTS CLAUSE
     66. 42 U.S.C. § 300gg-13(a)(1) requires private insurance to cover:

        evidence-based items or services that have in effect a rating of “A” or
        “B” in the current recommendations of the United States Preventive
        Services Task Force
     67. 42 U.S.C. § 300gg-13(a)(2) requires private insurance to cover:

        immunizations that have in effect a recommendation from the Advisory
        Committee on Immunization Practices of the Centers for Disease Con-
        trol and Prevention with respect to the individual involved
     68. 42 U.S.C. § 300gg-13(a)(3) requires private insurance to cover:

        with respect to infants, children, and adolescents, evidence-informed
        preventive care and screenings provided for in the comprehensive
        guidelines supported by the Health Resources and Services Administra-
        tion.
     69. 42 U.S.C. § 300gg-13(a)(4) requires private insurance to cover:

        with respect to women, such additional preventive care and screenings
        not described in paragraph (1) as provided for in comprehensive guide-
        lines supported by the Health Resources and Services Administration
        for purposes of this paragraph.
     70. Each of these four statutes, as currently interpreted, violates the Constitu-
 tion’s Appointments Clause, which provides:

        [The President] shall have Power, by and with the Advice and Consent
        of the Senate, to . . . appoint Ambassadors, other public Ministers and



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        Consuls, Judges of the supreme Court, and all other Officers of the
        United States, whose Appointments are not herein otherwise provided
        for, and which shall be established by Law: but the Congress may by
        Law vest the Appointment of such inferior Officers, as they think
        proper, in the President alone, in the Courts of Law, or in the Heads
        of Departments.
 U.S. Const. art. II § 2.
     71. The members of the U.S. Preventive Services Task Force, the Advisory Com-
 mittee on Immunization Practices, and the Health Resources and Services Admin-
 istration are “officers of the United States,” because they exercise “significant author-
 ity pursuant to the laws of the United States.” See Buckley v. Valeo, 424 U.S. 1, 126
 (1976) (“[A]ny appointee exercising significant authority pursuant to the laws of the
 United States is an ‘Officer of the United States,’ and must, therefore, be appointed
 in the manner prescribed by s 2, cl. 2, of that Article.”); see also Jennifer L. Mascott,
 Who Are “Officers of the United States”?, 70 Stan. L. Rev. 443 (2018). The power to
 unilaterally determine the “preventive care” that all health insurance must cover with-
 out cost-sharing qualifies as “significant authority pursuant to the laws of the United
 States.”
     72. Yet none of the members of the U.S. Preventive Services Task Force, the
 Advisory Committee on Immunization Practices, and the Health Resources and Ser-
 vices Administration have been nominated by the President or confirmed by the Sen-

 ate, as required by the Appointments Clause. In addition, none of the members of
 these agencies can reasonably be characterized as “inferior officers” when they have
 been given far-reaching powers to unilaterally decree the preventive care that health
 insurance must cover without any cost-sharing arrangements.
     73. Even if the members of the U.S. Preventive Services Task Force, the Advisory
 Committee on Immunization Practices, and the Health Resources and Services Ad-
 ministration could somehow be considered “inferior officers” under Article II of the




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 Constitution, there does not appear to be any Act of Congress that “vests” their ap-
 pointment in the President alone, in the Courts of Law, or in the Heads of Depart-
 ments — which is needed to escape the constitutional default rule of presidential nom-
 ination and Senate confirmation.
     74. The statute that establishes the U.S. Preventive Services Task Force, for ex-
 ample, says that “[t]he Director [of the Agency for Healthcare Research and Quality]
 shall convene an independent Preventive Services Task Force . . . to be composed of
 individuals with appropriate expertise.” 42 U.S.C.A. § 299b-4(a)(1) (emphasis add-
 ed). But this says nothing about how the members of the Task Force are to be ap-
 pointed, and it does not purport to “vest” the appointment of these members in the
 Director. And in all events, the Director of the Agency for Healthcare Research and
 Quality would not qualify as a “Head of Department” within the meaning of the
 Appointments Clause. See Freytag v. Commissioner of Internal Revenue, 501 U.S. 868,
 886 (1991); United States v. Germaine, 99 U.S. 508, 511 (1878).
     75. In addition, the plaintiffs have not been able to locate any Act of Congress
 that “vests” the appointment of the members of the Advisory Committee on Immun-

 ization Practices or the Health Resources and Services Administration in the President
 alone, the Courts of Law, or the Heads of Department. 42 U.S.C. § 217a, for example,

 authorizes the Secretary of Health and Human Services to “appoint such advisory
 councils or committees . . . for such periods of time, as he deems desirable with such
 period commencing on a date specified by the Secretary for the purpose of advising him
 in connection with any of his functions.” 42 U.S.C. § 217a (emphasis added). But this
 statute cannot be used to appoint the members of the Advisory Committee on Im-
 munization Practices or the Health Resources and Services Administration now that
 42 U.S.C. § 300gg-13(2)–(4) gives binding force to their pronouncements. The
 members these entities are not “advising” the Secretary on these statutory matters,




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 and they are no longer being appointed “for the purpose of advising” the Secretary.
 Instead, they are deciding the preventive care that private insurance must cover.
     76. If the U.S. Preventive Services Task Force, the Advisory Committee on Im-
 munization Practices, and the Health Resources and Services Administration were
 performing purely advisory functions, then their members would not be considered
 “officers of the United States” and need not be appointed in accordance with the
 Appointments Clause. See Walter Dellinger, Constitutional Limitations on Federal
 Government Participation in Binding Arbitration, 19 U.S. Op. Off. Legal Counsel
 208 (1995) (“[T]he members of a commission that has purely advisory functions
 need not be officers of the United States because they possess no enforcement au-
 thority or power to bind the Government.” (citation and internal quotation marks
 omitted)). But the members of the U.S. Preventive Services Task Force, the Advisory
 Committee on Immunization Practices, and the Health Resources and Services Ad-
 ministration are no longer acting in a “purely advisory” role now that 42 U.S.C.
 § 300gg-13(a) has empowered them to unilaterally determine the preventive care that
 health insurance must cover without any cost-sharing arrangements. The members of

 these agencies are undoubtedly “officers of the United States,” and they must be ap-
 pointed consistent with the requirements of Article II, § 2.

     77. The Court should therefore declare that any and all preventive-care mandates
 based on a rating, recommendation, or guideline issued by the U.S. Preventive Ser-
 vices Task Force, the Advisory Committee on Immunization Practices, or the Health
 Resources and Services Administration after March 23, 2010 — the date on which the
 Affordable Care Act was signed into law — are unconstitutional and unenforceable,
 and it should permanently enjoin the defendants from enforcing them.
     78. 42 U.S.C. § 300gg-13(a)(1) can be interpreted to avoid this constitutional
 problem if the phrase “current recommendations” is construed to refer only to the
 Task Force recommendations that existed on March 23, 2010 — the date on which


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 the Affordable Care Act was signed into law. 42 U.S.C. § 300gg-13(a)(2)–(4) can
 likewise be construed to avoid this constitutional problem if they are interpreted to
 refer only to agency recommendations and guidelines that existed on March 23, 2010.
 See paragraphs 96–107, infra; see also Carcieri v. Salazar, 555 U.S. 379, 395 (2009).
 These interpretations of 42 U.S.C. § 300gg-13(a)(1)–(4) will obviate any Appoint-
 ments Clause problem because the statute will merely incorporate and codify the
 agencies’ previous recommendations, rather than empowering the members of these
 agencies to unilaterally determine the preventive care that private insurance must
 cover.
     79. Indeed, a court is obligated to adopt this construction of the statute regard-
 less of whether it is ultimately persuaded by the plaintiffs’ Appointments Clause argu-
 ments, because ambiguities in federal statutes must be interpreted in a manner that
 will avoid serious constitutional questions. See Jennings v. Rodriguez, 138 S. Ct. 830,
 842 (2018) (“When a serious doubt is raised about the constitutionality of an act of
 Congress, it is a cardinal principle that this Court will first ascertain whether a con-
 struction of the statute is fairly possible by which the question may be avoided.” (ci-

 tation and internal quotation marks omitted)); Ellis v. Bhd. of Ry., Airline & S.S.
 Clerks, Freight Handlers, Exp. & Station Employees, 466 U.S. 435, 444 (1984)

 (“When the constitutionality of a statute is challenged, this Court first ascertains
 whether the statute can be reasonably construed to avoid the constitutional diffi-
 culty.”); Ohio v. Akron Ctr. for Reprod. Health, 497 U.S. 502, 514 (1990) (“[W]here
 fairly possible, courts should construe a [state] statute to avoid a danger of unconsti-
 tutionality.” (citation and internal quotation marks omitted)); see also Gundy v. United
 States, 139 S. Ct. 2116, 2123–24 (2019) (plurality opinion of Kagan, J.); Cass R.
 Sunstein, Nondelegation Canons, 67 U. Chi. L. Rev. 315 (2000) (describing how can-
 ons of construction have been used to support nondelegation principles, and urging




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 courts use the canons of construction to ensure that statutes are interpreted in a man-
 ner that avoids potential nondelegation issues).
     80. So the Court should, at the very least, interpret 42 U.S.C. § 300gg-13(a)(1)–
 (4) to avoid these serious constitutional questions under the Appointments Clause,
 by declaring that 42 U.S.C. § 300gg-13(a)(1), as a matter of statutory interpretation,
 requires insurers to cover only the items or services that had an “A” or “B” rating
 from the U.S. Preventive Services Task Force on March 23, 2010 — the date on which
 the Affordable Care Act was signed into law. It should likewise declare that 42 U.S.C.
 § 300gg-13(a)(2) requires insurers to cover only the immunizations that were rec-
 ommended by the Advisory Committee on Immunization Practices on March 23,
 2010, and that 42 U.S.C. § 300gg-13(a)(3)–(4) require insurers to cover only the
 preventive care and screenings provided for in HRSA guidelines in existence on that
 date. And the Court should enjoin the defendants from enforcing any preventive-care
 mandate derived from an agency rating, recommendation, or guideline that issued
 after March 23, 2010.

   CLAIM NO. 2 — 42 U.S.C. § 300gg-13(a)(1)–(4) VIOLATE THE
                NONDELEGATION DOCTRINE
     81. 42 U.S.C. § 300gg-13(a)(1) requires private insurance to cover:

        evidence-based items or services that have in effect a rating of “A” or
        “B” in the current recommendations of the United States Preventive
        Services Task Force
     82. 42 U.S.C. § 300gg-13(a)(2) requires private insurance to cover:

        immunizations that have in effect a recommendation from the Advisory
        Committee on Immunization Practices of the Centers for Disease Con-
        trol and Prevention with respect to the individual involved
     83. 42 U.S.C. § 300gg-13(a)(3) requires private insurance to cover:

        with respect to infants, children, and adolescents, evidence-informed
        preventive care and screenings provided for in the comprehensive




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        guidelines supported by the Health Resources and Services Administra-
        tion.
     84. 42 U.S.C. § 300gg-13(a)(4) requires private insurance to cover:

        with respect to women, such additional preventive care and screenings
        not described in paragraph (1) as provided for in comprehensive guide-
        lines supported by the Health Resources and Services Administration
        for purposes of this paragraph.
     85. To the extent that 42 U.S.C. § 300gg-13(a)(1)–(4) empower future itera-
 tions of the U.S. Preventive Services Task Force, the Advisory Committee on Immun-
 ization Practices, and the Health Resources and Services Administration to unilater-
 ally determine preventive care that private insurance must cover, they unconstitution-
 ally delegate legislative power without providing an “intelligible principle” to guide
 the agencies’ discretion.
     86. The court should therefore declare that 42 U.S.C. § 300gg-13(a)(1)–(4)
 violate Article I by unconstitutionally delegating legislative power to the U.S. Preven-
 tive Services Task Force, the Advisory Committee on Immunization Practices, and
 the Health Resources and Services Administration. The court should further declare
 that any preventive-care mandate derived from an agency rating, recommendation, or

 guideline that was issued after March 23, 2010 — the date on which the Affordable
 Care Act was signed into law — is unconstitutional and unenforceable.
     87. 42 U.S.C. § 300gg-13(a)(1) can be interpreted to avoid this constitutional
 nondelegation problem if the phrase “current recommendations” is construed to refer
 only to the Task Force recommendations that existed on March 23, 2010 — the date
 on which the Affordable Care Act was signed into law. 42 U.S.C. § 300gg-13(a)(2)–
 (4) can likewise be construed to avoid this constitutional problem if they are inter-
 preted to refer only to agency recommendations and guidelines that existed on March
 23, 2010. See paragraphs 96–107, infra; see also Carcieri v. Salazar, 555 U.S. 379,
 395 (2009). These interpretations of 42 U.S.C. § 300gg-13(a)(1)–(4) will obviate




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 any nondelegation problem because the statute will merely incorporate and codify the
 agencies’ previous recommendations, rather than empowering the agencies to unilat-
 erally determine the preventive care that private insurance must cover without an “in-
 telligible principle” to guide their discretion.
     88. Indeed, a court is obligated to adopt this construction of the statute regard-
 less of whether it is ultimately persuaded by the plaintiffs’ nondelegation arguments,
 because ambiguities in federal statutes must be interpreted in a manner that will avoid
 serious constitutional questions and avoid conferring unguided discretion on an ad-
 ministrative agency. See authorities cited in paragraph 78, supra.
     89. So the Court should, at the very least, declare that 42 U.S.C. § 300gg-
 13(a)(1), as a matter of statutory interpretation, requires insurers to cover only the
 items or services that had an “A” or “B” rating from the U.S. Preventive Services Task
 Force on March 23, 2010 — the date on which the Affordable Care Act was signed
 into law. The Court should likewise declare that 42 U.S.C. § 300gg-13(a)(2) requires
 insurers to cover only the immunizations that were recommended by the Advisory
 Committee on Immunization Practices on March 23, 2010, and that 42 U.S.C.

 § 300gg-13(a)(3)–(4) require insurers to cover only the preventive care and screen-
 ings provided for in HRSA guidelines in existence on that date. And the Court should

 enjoin the defendants from enforcing any preventive-care mandate derived from an
 agency rating, recommendation, or guideline that issued after March 23, 2010.

                CLAIM NO. 3 — 42 U.S.C. § 300gg-13(a)(1)
               VIOLATES ARTICLE II’S VESTING CLAUSE
     90. If the Court somehow concludes that the U.S. Preventive Services Task
 Force is exercising executive power rather than legislative power when it unilaterally
 decrees the “items or services” that health insurance must cover, then 42 U.S.C.
 § 300gg-13(a)(1) violates Article II’s vesting clause by conferring executive power on
 agency officials who are not subject to Presidential direction, removal, or control.



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     91. The statute establishing the U.S. Preventive Services Task Force forbids any
 Presidential influence over the Task Force’s recommendations:

        All members of the Task Force convened under this subsection, and any
        recommendations made by such members, shall be independent and,
        to the extent practicable, not subject to political pressure.
 42 U.S.C. § 299b-4.
     92. There is nothing wrong with immunizing a purely advisory committee from
 presidential direction and control. But the U.S. Preventive Services Task Force ceased
 to be an advisory committee when Congress enacted 42 U.S.C. § 300gg-13(a)(1),
 and empowered the Task Force to unilaterally decree the preventive care that health
 insurance must cover.
     93. The Constitution makes no provision for governance by politically unac-
 countable bureaucrats. The Task Force is either exercising legislative or executive
 power when it announces the preventive care that health insurance must cover with-
 out any cost-sharing arrangements. If these Task Force pronouncements qualify as
 legislative power, then 42 U.S.C. § 300gg-13(a)(1) violates Article I by conferring
 lawmaking powers on an agency. And if the Task Force pronouncements qualify as
 executive power, then 42 U.S.C. § 300gg-13(a)(1) violates Article II by conferring
 executive power on agency officials who are immune from the President’s direction,
 removal, and control. Either way, the statute is unconstitutional, and any preventive-
 care mandates derived from a Task Force pronouncement that issued after March 23,
 2010, should be declared unconstitutional and unenforceable.
     94. 42 U.S.C. § 300gg-13(a)(1) can be interpreted to avoid this serious consti-
 tutional question under Article II’s vesting clause if the phrase “current recommen-
 dations” is construed to refer only to the Task Force recommendations that existed
 on March 23, 2010 — the date on which the Affordable Care Act was signed into law.

 See paragraphs 96–98, infra; see also Carcieri v. Salazar, 555 U.S. 379, 395 (2009).




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 This interpretation of 42 U.S.C. § 300gg-13(a)(1) will obviate any problem under
 Article II’s vesting clause because the statute will merely incorporate and codify the
 Task Force’s previous recommendations, rather than empowering the Task Force
 members to unilaterally determine the preventive care that private insurance must
 cover without being subject to the President’s direction, removal, and control.
     95. Indeed, a court is obligated to adopt this construction of the statute regard-
 less of whether it is ultimately persuaded by the plaintiffs’ vesting-clause arguments,
 because ambiguities in federal statutes must be interpreted in a manner that will avoid
 serious constitutional questions. See cases cited in paragraph 78, supra.

    CLAIM NO. 4 — 42 U.S.C. § 300gg-13(a)(1)–(4) MUST BE
 CONSTRUED, AS A MATTER OF STATUTORY INTERPRETATION,
   TO REFER TO THE RATINGS, RECOMMENDATIONS, OR
   GUIDELINES THAT EXISTED ON THE DATE THAT THE
     AFFORDABLE CARE ACT WAS ENACTED INTO LAW
     96. 42 U.S.C. § 300gg-13(a)(1) requires private insurance to cover:

         evidence-based items or services that have in effect a rating of “A” or
         “B” in the current recommendations of the United States Preventive
         Services Task Force
 42 U.S.C. § 300gg-13(a)(1) (emphasis added).

     97. The phrase “current recommendations of the United States Preventive Ser-
 vices Task Force” must be construed, as a matter of statutory interpretation, to refer
 to the recommendations of the United States Preventive Services Task Force that ex-
 isted on March 23, 2010 — the date on which the statute was enacted into law —
 rather than the Task Force recommendations that exist today. See Carcieri v. Salazar,
 555 U.S. 379, 395 (2009) (holding that the phrase “any recognized Indian tribe now
 under Federal jurisdiction” in the Indian Reorganization Act “unambiguously refers
 to those tribes that were under the federal jurisdiction of the United States when the
 IRA was enacted in 1934,” not to those tribes that are under federal jurisdiction to-
 day).



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     98. The canon of constitutional avoidance compels this interpretation of 42
 U.S.C. § 300gg-13(a)(1), because the contrary interpretation will violate the Ap-
 pointments Clause, the non-delegation doctrine, and the vesting clause of Article II,
 or at least raise serious constitutional questions under each of those constitutional
 provisions and doctrines. See paragraphs 66–94, supra.
     99. 42 U.S.C. § 300gg-13(a)(2) requires private insurance to cover:

        immunizations that have in effect a recommendation from the Advisory
        Committee on Immunization Practices of the Centers for Disease Con-
        trol and Prevention with respect to the individual involved
 42 U.S.C. § 300gg-13(a)(2) (emphasis added).
     100. The phrase “have in effect a recommendation from the Advisory Committee
 on Immunization Practices” must be construed, as a matter of statutory interpreta-
 tion, to refer to the recommendations of the Advisory Committee on Immunization
 Practices that existed on March 23, 2010 — the date on which the statute was enacted
 into law — rather than the Advisory Committee recommendations that exist today. See
 Carcieri, 555 U.S. at 395.
     101. The canon of constitutional avoidance compels this interpretation of 42
 U.S.C. § 300gg-13(a)(2), because the contrary interpretation will violate the Ap-
 pointments Clause and the non-delegation doctrine, or at least raise serious constitu-
 tional questions under each of those constitutional provisions and doctrines. See par-
 agraphs 66–89, supra.
     102. 42 U.S.C. § 300gg-13(a)(3) requires private insurance to cover:

        with respect to infants, children, and adolescents, evidence-informed
        preventive care and screenings provided for in the comprehensive guide-
        lines supported by the Health Resources and Services Administration.
 42 U.S.C. § 300gg-13(a)(3) (emphasis added).




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     103. The phrase “comprehensive guidelines supported by the Health Resources
 and Services Administration” must be construed, as a matter of statutory interpreta-
 tion, to refer to the guidelines of the Health Resources and Services Administration
 that existed on March 23, 2010 — the date on which the statute was enacted into
 law — rather than the HRSA recommendations that exist today. See Carcieri, 555 U.S.
 at 395.
     104. The canon of constitutional avoidance compels this interpretation of 42
 U.S.C. § 300gg-13(a)(3), because the contrary interpretation will violate the Ap-
 pointments Clause and the non-delegation doctrine, or at least raise serious constitu-
 tional questions under each of those constitutional provisions and doctrines. See par-
 agraphs 66–89, supra.
     105. 42 U.S.C. § 300gg-13(a)(4) requires private insurance to cover:

        with respect to women, such additional preventive care and screenings
        not described in paragraph (1) as provided for in comprehensive guide-
        lines supported by the Health Resources and Services Administration for
        purposes of this paragraph.
     106. The phrase “comprehensive guidelines supported by the Health Resources
 and Services Administration” must be construed, as a matter of statutory interpreta-
 tion, to refer to the guidelines of the Health Resources and Services Administration
 that existed on March 23, 2010 — the date on which the statute was enacted into
 law — rather than the HRSA recommendations that exist today. See Carcieri, 555 U.S.
 at 395.
     107. The canon of constitutional avoidance compels this interpretation of 42
 U.S.C. § 300gg-13(a)(4), because the contrary interpretation will violate the Ap-
 pointments Clause and the non-delegation doctrine, or at least raise serious constitu-
 tional questions under each of those constitutional provisions and doctrines. See par-
 agraphs 66–89, supra.




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      CLAIM NO. 5 — T H E P r E P M A N D A T E V I O L A T E S T H E
         RELIGIOUS FREEDOM RESTORATION ACT
     108. The PrEP mandate violates the Religious Freedom Restoration Act by forc-

 ing self-insured religious employers to underwrite coverage that violates their religious
 beliefs, and by making it impossible for religious individuals and employers to pur-
 chase health insurance that excludes this objectionable coverage. This imposes a sub-
 stantial burden on the religious freedom of those who oppose homosexual behavior
 on religious grounds.
     109. The PrEP mandate forces religious employers to provide coverage for drugs
 that facilitate and encourage homosexual behavior, prostitution, sexual promiscuity,
 and intravenous drug use. It also compels religious employers and religious individuals
 who purchase health insurance to subsidize these behaviors as a condition of purchas-
 ing health insurance. This substantially burdens the exercise of religion. See Burwell v.
 Hobby Lobby Stores, Inc., 573 U.S. 682, 724–26 (2014); DeOtte v. Azar, 393 F. Supp.
 3d 490, 509 (N.D. Tex. 2019).

     110. There is no compelling governmental interest in providing PrEP drugs at
 zero marginal cost. And even if there were, there are ways to achieve this goal in a
 manner that is less restrictive of the plaintiffs’ religious freedom.
     111. The Court should therefore enjoin the defendants from enforcing the PrEP

 mandate against the plaintiffs or any other individual or employer who objects to the
 coverage of PrEP drugs for sincere religious reasons.

                              DEMAND FOR RELIEF
     112. The plaintiffs respectfully request that the court:




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         a.   declare that 42 U.S.C. § 300gg-13(a)(1)–(4) violate the Appointments
              Clause by empowering individuals who have not been appointed in
              conformity with the Appointments Clause to unilaterally determine the
              preventive care that health insurance must cover;

         b.   declare that 42 U.S.C. § 300gg-13(a)(1)–(4) violate Article I of the
              Constitution by delegating legislative power to the U.S. Preventive Ser-
              vices Task Force, the Advisory Committee on Immunization Practices,
              and the Health Resources and Services Administration without provid-
              ing an “intelligible principle” to guide the agencies’ discretion;

         c.   declare that 42 U.S.C. § 300gg-13(a)(1) violates Article II’s vesting
              clause by empowering the U.S. Preventive Services Task Force to uni-
              laterally determine that preventive care that health insurance must cover
              while simultaneously immunizing that agency from the President’s di-
              rection, removal, or control;

         d.   in the alternative, declare that 42 U.S.C. § 300gg-13(a)(1), as a matter
              of statutory interpretation, requires insurers to cover only the items or
              services that had an “A” or “B” rating from the U.S. Preventive Services
              Task Force on March 23, 2010, that 42 U.S.C. § 300gg-13(a)(2) re-
              quires insurers to cover only the immunizations that were recom-
              mended by the Advisory Committee on Immunization Practices as of
              March 23, 2010, and that 42 U.S.C. § 300gg-13(a)(3)–(4) require in-
              surers to cover only the preventive care and screenings provided for in
              HRSA guidelines in existence on March 23, 2010;

         e.   permanently enjoin the defendants from enforcing any coverage man-
              date based upon an agency rating, recommendation, or guideline that
              issued after March 23, 2010;

         f.   declare that the PrEP mandate violates the Religious Freedom Resto-
              ration Act, and permanently enjoin the defendants from enforcing it
              against any individual or employer who objects to the coverage of PrEP
              drugs for sincere religious reasons;

         g.   award costs and attorneys’ fees under 42 U.S.C. § 1988;

         h.   award all other relief that the Court deems just, proper, or equitable.




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                                       Respectfully submitted.

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     I certify that on July 20, 2020, I served this document through CM/ECF upon:

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